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                         IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA
                                               )
       v.                                      )       CRIMINAL NO. 21-CR-244-2 (CKK)
                                               )
                                               )
ANTHONY GRIFFITH, SR.,                         )
                                               )
       DEFENDANT                               )

                                  NOTICE OF APPEARANCE

       COMES NOW Nicole Cubbage and enters her appearance as counsel for Mr. Anthony

Griffith in the above captioned case.

                                               Respectfully Submitted,

                                               NICOLE CUBBAGE

                                               By:

                                                  /s/
                                               Nicole Cubbage
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                                        Certificate of Service
 I certify that a copy of the forgoing was filed electronically for all parties of record on this 24th
                                       day of October, 2022.
                                         ____/s/________
                                          Nicole Cubbage
                                      Attorney for Mr. Griffith




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